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-----OFFICIAL INFORMATION DISPATCH FOLLOWS-----
RTTUZYUW RHOIAAA0001 3491212-UUUU--RHSSSUU.
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R 151203Z DEC 21 MID200001325643U
FM CNO WASHINGTON DC
TO NAVADMIN
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NAVADMIN 283/21

PASS TO OFFICE CODES:
FM CNO WASHINGTON DC//N1//
INFO CNO WASHINGTON DC//N1//
MSGID/NAVADMIN/CNO WASHINGTON DC/CNO/DEC//

SUBJ/CCDA EXECUTION GUIDANCE TO COMMANDERS//

REF/A/MSG/CNO/311913ZAUG21//
REF/B/MSG/CNO/132050ZOCT21//
REF/C/MSG/CNO/152239ZNOV21//
REF/D/DOC/SECDEF/24AUG21//
REF/E/MSG/SECNAV/302126ZAUG21//
REF/F/DOC/SECNAV/24JUL19//
REF/G/DOC/OPNAV/30OCT19//
REF/H/DOC/OPNAV/09OCT19//
REF/I/DOC/OPNAV/09OCT19//
REF/J/DOC/OPNAV/18OCT19//
REF/K/MSG/CNO/011621ZNOV21//
REF/L/DOC/10 US CODE/01JAN21//
REF/M/DOC/10 US CODE/01JAN21//
REF/N/DOC/10 US CODE/01JAN21//
REF/O/MSG/CNO/241805ZNOV21//
REF/P/DOC/SECDEF/30NOV21//
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REF/S/DOC/BUPERINST 1730.11A/16MAR20//
REF/T/DOC/OPNAV/15AUG20//
REF/U/BUMEDINST 6230.15B/7OCT13//

NARR/REF A IS NAVADMIN 190/21, 2021-2022 NAVY MANDATORY COVID-19
VACCINATION AND REPORTING POLICY.
REF B IS NAVADMIN 225/21, COVID-19 CONSOLIDATED DISPOSITION
AUTHORITY (CCDA).
REF C IS NAVADMIN 256/21, CCDA GUIDANCE TO COMMANDERS.
REF D IS THE SECRETARY OF THE DEFENSE MEMO MANDATING CORONAVIRUS
DISEASE 2019 VACCINATION FOR DEPARTMENT OF DEFENSE SERVICE MEMBERS.
REF E IS ALNAV 062/21, 2021-2022 DEPARTMENT OF THE NAVY MANDATORY
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COVID-19 VACCINATION POLICY.
REF F IS SECNAVINST 1920.6D, ADMINISTRATIVE SEPARATION OF OFFICERS.
REF G IS MILPERSMAN 1611-010, OFFICER PERFORMANCE AND SEPARATIONS
FOR CAUSE.
REF H IS MILPERSMAN 1910-142, SEPARATION BY REASON OF MISCONDUCT -
COMMISSION OF A SERIOUS OFFENSE.
REF I IS MILPERSMAN 1910-233, MANDATORY SEPARATION PROCESSING.
REF J IS MILPERSMAN 1910-010, ENLISTED ADMINISTRATIVE SEPARATION
(ADSEP) POLICY AND GENERAL INFORMATION.
REF K IS NAVADMIN 249/21, CCDA DATA REPORTING REQUIREMENTS.
REF L IS 10 U.S. CODE SECTION 8330, ENLISTED MEMBERS: TRANSFER TO
FLEET RESERVE AND FLEET MARINE CORPS RESERVE; RETAINER PAY.
REF M IS 10 U.S. CODE SECTION 8326, ENLISTED MEMBERS: 30 YEARS.
REF N IS 10 U.S. CODE SECTION 1370, REGULAR COMMISSIONED OFFICERS.
REF O IS NAVADMIN 268/21, REQUIRED COVID-19 TESTING FOR UNVACCINATED
SERVICE MEMBERS.
REF P IS SECRETARY OF DEFENSE MEMO ADDRESSING CORONAVIRUS DISEASE
2019 VACCINATION FOR MEMBERS OF THE NATIONAL GUARD AND THE READY
RESERVE.
REF Q IS 10 U.S. CODE SECTION 8323, OFFICERS: 20 YEARS.
REF R IS 10 U.S. CODE SECTION 12731, AGE AND SERVICE REQUIREMENTS.
REF S IS BUPERSINST 1730.11A, STANDARDS AND PROCEDURES GOVERNING THE
ACCOMMODATION OF RELIGIOUS PRACTICES.
REF T IS MILPERSMAN 1730-020, IMMUNIZATION EXEMPTIONS FOR RELIGIOUS
BELIEFS.
REF U IS BUMEDINST 6230.15B, IMMUNIZATIONS AND CHEMOPROPHYLAXIS FOR
THE PREVENTION OF INFECTIOUS DISEASE.

RMKS/1. Purpose. Since we are now past the last date that any Navy
service member may receive the vaccine and meet the deadlines
specified in reference (a), this NAVADMIN provides execution
guidance regarding separation of Navy service members refusing the
COVID-19 vaccine as directed in references (a) through (e).

2. Policy. In order to ensure a fully vaccinated force, U.S. Navy
policy is, first, that all Navy service members receive the vaccine
as directed and, second, that any who refuse the vaccine be
processed for separation at the earliest possible opportunity.
While the vast majority of Navy service members have already
received the vaccine, it remains in the interest of the Navy to
encourage remaining Navy service members to become fully vaccinated
as soon as possible and, at such time, consider them for retention.
Regarding those who refuse the vaccine, the following policy will be
implemented to maximize speed and equity in achieving a fully
vaccinated force:

2.a. Navy service members eligible or approved to separate or
retire on or before 1 June 2022. Upon request, permit separation or
retirement (as applicable) as soon as practicable via expedited
processes, in lieu of administrative separation processing. Barring
extenuating circumstances, this will result in an HONORABLE
characterization of service.
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2.b. Navy service members not eligible to separate or retire on or
before 1 June 2022: Process for administrative separation as soon
as practicable based on misconduct.

2.b.(1). Less than 6 years of service: Process for separation with
an HONORABLE characterization. Service members in this category are
not entitled to an Administrative Separation (ADSEP) board or a
Board of Inquiry.

2.b.(2). More than 6 years of service: Process for separation with
a GENERAL (under honorable conditions) characterization, however,
requests to waive Administrative Separation boards or Boards of
Inquiry in exchange for HONORABLE characterization of service will
generally be favorably endorsed (barring additional misconduct or
unique circumstances).

2.c. The separation guidance in this NAVADMIN applies to active
duty, full time support (FTS)/training and administration of the
reserve (TAR), and selected reserve (SELRES) Navy service members
refusing the vaccine. Paragraph 6, below, provides additional
guidance regarding Navy Reserve service members refusing the
vaccine. Navy service members in the Individual Ready Reserve
(IRR), as well as U.S. Naval Academy (USNA) and Naval Reserve
Officers Training Corps (ROTC) midshipmen remain subject to the
vaccine mandates in references (a), (d), and (e), but will be
processed per their governing instructions.

3. Action. Commanders are now directed to conduct separation
processing IAW this NAVADMIN and per references (f) through (j).
3.a. If a Navy service member refusing the vaccine changes their
mind and subsequently receives the vaccine, but cannot meet the
deadline specified in references (a) and (e), Commanders must
expeditiously report that fact to the COVID Consolidated Disposition
Authority (CCDA) via *PERS-834(at)navy.mil* for officers and
*832vaccineadseps.fct(at)navy.mil* for enlisted, in order to
expedite determination regarding pausing or permanently waiving the
administrative actions directed by references (b), (c) and this
NAVADMIN. Commanders are reminded to update the data required by
reference (k) in such cases.

3.b. Separation processing for Navy service members refusing the
vaccine will be IAW this NAVADMIN. Where the terms of this NAVADMIN
regarding separation processing conflict with references (a) through
(c), this NAVADMIN supersedes and replaces that previous guidance.
However, unless specifically waived by the CCDA based on receiving
the vaccine, all other administrative actions associated with
vaccine refusal described in references (b) and (c) including but
not limited to pay, promotion/advancement, fitness
reports/evaluations, etc. continue to apply in all cases of Navy
service members refusing the vaccine.

3.c. Officer and enlisted service members separated based on
vaccine refusal will not be eligible for involuntary separation pay.
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3.d. Officers separated based on vaccine refusal who have not
completed a service obligation incurred by attending the U.S. Naval
Academy, receipt of a Naval Reserve Officers Training Corps
Scholarship, or receipt of other advanced education funds will be
required to repay their educational expenses IAW existing
agreements.

3.e. The command endorsement section of separation requests
processed in NSIPS per this NAVADMIN must clearly indicate *COVID-19
VACCINE REFUSAL* and Commanders must closely monitor progress and
results throughout the process.

3.f. Navy service members with approved or pending COVID-19
vaccination exemption requests shall not be processed for separation
per this NAVADMIN. Navy service members whose COVID-19 vaccination
exemption request is subsequently denied are required to receive the
COVID-19 vaccine as directed by the exemption adjudicating authority
or if the exemption adjudicating authority does not specify,
commence vaccination within 5 days of being notified of the denial.
Navy service members who subsequently refuse the COVID-19 vaccine
after expiration of the specified time to commence vaccination will
be processed for separation per this NAVADMIN. Commanders are
reminded to update the data required by reference (k) in such cases.

3.g. Any officer or enlisted service member refusing the vaccine
who has a currently-approved separation or retirement (as of the
date of this NAVADMIN) for a date on or before 1 June 2022 will be
permitted to execute their separation or retirement without
additional administrative separation processing described below.

3.h. For the purposes of this message, use of the word *retirement*
in the case of enlisted personnel should be read to include transfer
to the fleet reserve, when eligible.

4. Officer Processing: Except as provided in paragraph 3.g, the
CCDA, as the show cause authority, has directed mandatory show cause
processing for all officers who refuse the vaccine IAW reference (f)
on the bases of Misconduct, Moral or Professional Dereliction, and
Substandard Performance.

4.a. Commanders shall delay submitting a report of misconduct for
officers who are beyond their minimum service requirement (MSR) to
determine if they are eligible and desire to request an unqualified
retirement or resignation in line with para 2.a. For officers who
are not eligible and/or do not desire to request to retire or resign
on or before 1 June 2022, Commanders shall initiate processing for
separation by submitting a report of misconduct to Commander, Navy
Personnel Command (PERS-834) per reference (g) as soon as
practicable, but not later than 21 January 2022. The template for
this report may be found at *https://www.mnp.navy.mil/group/navy-
covid-19-reporting*. For officers who are eligible, request and are
command sponsored (via NSIPS) to retire or resign on or before 1
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June 2022, reports of misconduct are not required. However, if
requests for retirement or resignation are disapproved by higher
authority, the provisions of this paragraph regarding required
reports of misconduct and officer show cause will again apply. In
those cases, reports of misconduct must be initiated within 5 days
of retirement or resignation disapproval.

4.a.(1). Unqualified resignation or retirement requests in line
with this paragraph must be submitted no later than 21 January 2022
with a separation date no later than 1 June 2022.

4.a.(2). Officers who have not met all Time in Grade (TIG)
requirements will not be recommended for a TIG waiver and will be
recommended to retire at the next lower grade in which the officer
served on active duty satisfactorily.

4.a.(3). Officers with prior enlisted service, more than 20 years
of active service, and less than 10 years of commissioned service
(YCS) are not qualified for a regular officer retirement, but will
be permitted to resign their commission and reenlist in the highest
enlisted paygrade previously held for the sole purpose of retiring
IAW references (l) and (m).

4.a.(4). In cases where an officer is notified after 7 January 2022
that their exemption request was denied and continues to refuse the
vaccine, that officer will be provided 14 days from the date of such
notification to request resignation or retirement in line with
paragraph 4.a. above, if they are eligible and desire to make such a
request. Such requests must still ensure resignation or retirement
on or before 1 June 2022.

4.b. Eligible. An officer eligible to resign is, generally, one
who has completed or will complete their minimum service requirement
on or before 1 June 2022. An officer eligible to retire is,
generally, one who has completed or will complete at least 20 years
of service on or before 1 June 2022. Additional service obligation
incurred due to such Navy benefits as education and bonuses may be
waived, at the discretion of the CCDA or higher authority, in
exchange for agreement to repay any unearned portion of the benefit.
Each case will be individually adjudicated for final determination.

4.c. Probationary Officers (as defined in reference (f), but
generally less than 6 years of commissioned service).

4.c.(1). Except as provided in paragraphs 3.g. and 4.a.,
probationary officers who refuse the vaccine will be directed to
show cause for retention by notification procedures. The least
favorable characterization of service shall be HONORABLE, unless
inclusion of another basis for separation warrants a less favorable
characterization. The show cause authority will direct processing
after receiving reports of misconduct.

4.c.(2). Once notification is complete IAW reference (f) enclosure
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11, the matter will be submitted to the Secretary of the Navy for
final adjudication.

4.d. Non-Probationary Officers (as defined in reference (f), but
generally greater than 6 years of commissioned service).

4.d.(1). Except as provided in paragraphs 3.g. and 4.a., non-
probationary officers who refuse the vaccine will be directed to
show cause for retention by Board of Inquiry procedures. The least
favorable characterization of service directed for consideration
will be GENERAL (under honorable conditions), unless inclusion of
another basis for separation warrants a less favorable
characterization.

4.d.(2). Non-probationary officers who refuse the vaccine who will
not be retirement or resignation eligible on or before 1 June 2022,
will not have completed their MSR before 1 June 2022, are denied
requests for unqualified resignation/retirement, or who do not
prefer separation or retirement IAW with paragraph 4.a. above will,
in the course of show cause proceedings, be offered the opportunity
to submit a qualified resignation or, in some cases, a retirement
request, for discharge with an HONORABLE characterization of service
in exchange for waiving their right to a Board of Inquiry.

4.d.(2).(a). Qualified resignation or retirement requests under
this paragraph must be submitted no later than 14 days after
notification to the officer.

4.d.(2).(b). Officers requesting retirement under this paragraph
will be recommended to the Secretary of the Navy for retirement in
grade so long as time-in-grade requirements are met IAW references
(f) and (n).

4.d.(2).(c). Officers requesting retirement under this paragraph,
who have not met all TIG requirements will not be recommended for a
TIG waiver and will be recommended to retire at the next lower grade
in which the officer served on active duty satisfactorily.

4.d.(2).(d). Officers with prior enlisted service, more than 20
years of active service, and less than 10 years of commissioned
service (YCS) are not qualified for a regular officer retirement,
but will be permitted to resign their commission and reenlist in the
highest enlisted paygrade previously held for the sole purpose of
retiring IAW references (l) and (m).

4.d.(3). Non-probationary officers who refuse the vaccine who do
not avail themselves of the opportunities and options provided above
will be subject to show cause through Boards of Inquiry with GENERAL
(under honorable conditions) as the least favorable characterization
of service.

5. Enlisted Processing. Except as provided in paragraph 3.g., the
CCDA has directed that Commanders shall initiate the administrative
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separation process for all enlisted service members refusing the
vaccine under reference (h), Misconduct-Commission of a Serious
Offense, plus any additional basis known at the time of processing.
The provisions of reference (g) and MILPERSMAN 1910 (series) apply:
treat vaccine refusal cases as though they were listed in reference
(i).

5.a. Commanders shall delay initiating administrative separation
processing for enlisted service members who have greater than 20
years of service or have an end of active obligated service (EAOS)
on or before 1 June 2022 to determine if they are eligible and
desire to request separation or retirement in line with para 2.a.
For those who are not eligible and/or do not desire to make such a
request, initiate administrative separation processing as soon as
practicable, but not later than 21 January 2022. For those who are
eligible, request and are command sponsored to separate or retire on
or before 1 June 2022, administrative separation processing is not
required. However, if such requests are disapproved by higher
authority, the provisions of this paragraph requiring separation
processing will again apply. In those cases, administrative
separation processing must be initiated within 5 days of
disapproval.

5.a.(1). Separation or retirement requests in line with this
paragraph must be submitted no later than 21 January 2022.

5.a.(2). Enlisted service members with an expected EAOS on or
before 1 June 2022 may request such separation through use of the
Enlisted Personnel Action Request Form NAVPERS 1306/7. Requests may
be approved by Commanders as described in existing procedures.

5.a.(3). Enlisted service members retiring who submit a request IAW
this paragraph will be retired in grade so long as TIG requirements
are met.

5.a.(4). Enlisted service members who have not met all TIG
requirements will be ineligible for a TIG waiver and will be retired
at the next lower grade. Enlisted service members must include
their willingness to retire at a lower pay grade within their
request. Commanders must also provide a narrative in the comments
that the request is being submitted IAW this NAVADMIN.

5.a.(5). In cases where an enlisted service member is notified
after 7 January 2022 that their exemption request was denied and
continues to refuse the vaccine, that enlisted service member will
be provided 14 days from the date of such notification to request
separation or retirement in line with paragraph 5.a. above, if they
are eligible and desire to make such a request. Such requests must
still ensure separation or retirement on or before 1 June 2022.

5.b. Eligible. An enlisted service member eligible to separate is,
generally, one who will reach their EAOS on or before 1 June 2022.
An enlisted service member eligible to retire is, generally, one who
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has completed or will complete at least 20 years of service on or
before 1 June 2022. Additional service obligations incurred due to
such Navy benefits as education and bonuses may be waived, at the
discretion of the CCDA or higher authority, in exchange for
agreement to repay any unearned portion of the benefit. Each case
will be individually adjudicated for final determination.

5.c. Enlisted service members with less than 6 years of total
service (and/or reserve military service) at the time of
notification.

5.c.(1). Except as provided in paragraphs 3.g. and 5.a., enlisted
service members with less than 6 years of total service shall be
processed for separation using notification procedures. The least
favorable characterization of service shall be HONORABLE, unless
significant and persistent negative aspects of the members conduct
or performance of duty in the current enlistment outweigh positive
aspects of the members service record, or if inclusion of another
basis for separation warrants a less favorable characterization.

5.c.(2). Once the cognizant Commander completes notification,
commands shall endorse and forward to PERS-8 at
*832vaccineadseps.fct(at)navy.mil*, which will forward to the
applicable separation authority and then direct separation as
appropriate.

5.d. Enlisted service members with more than 6 years of total
service (and/or reserve military service) at the time of
notification.

5.d.(1). Except as provided in paragraphs 3.g. and 5.a., enlisted
service members with more than 6 years of total service shall be
processed using administrative board procedures. The least
favorable characterization of service shall be GENERAL (under
honorable conditions), unless inclusion of another basis for
separation warrants a less favorable characterization.

5.d.(2). Enlisted service members with more than 6 years of total
service who are not eligible for retirement, have an EAOS after 1
June 2022, are denied a request for separation or retirement, or who
do not prefer separation IAW with paragraph 5.a. above, may request
to conditionally waive an administrative separation board in
exchange for separation or retirement (as applicable) with an
HONORABLE characterization of service.

5.d.(2).(a). Conditional waiver requests for separation or
retirement must be received by the Commander no later than 14 days
after notification.

5.d.(2).(b). Unless there are extenuating circumstances, the
Commander will favorably endorse the conditional waiver request and
forward to PERS 8 at *832vaccineadseps.fct(at)navy.mil*, which will
forward to the applicable separation authority and then direct
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separation as appropriate. Commanders should generally disapprove a
conditional waiver only where additional misconduct (other than
vaccine refusal) is present.

5.d.(3). Enlisted service members requesting retirement IAW this
paragraph may be recommended for retirement in grade if time in
grade requirements are met (as applicable). If TIG requirements are
not met, they may be recommended for retirement at the next lower
grade.

5.d.(4). Enlisted service members with more than 6 years of total
service who do not avail themselves of the opportunities and options
above will continue to be processed for administrative separation
with GENERAL (under honorable conditions) as the least favorable
characterization of service.

5.e. In order to streamline processing of enlisted separation
cases, commands are directed to visit
https://www.mynavyhr.navy.mil/Career-Management/Personnel-Conduct-
Sep/Enlisted-Separations/ for reference materials, letter of
transmittal templates and checklists to be used when submitting
enlisted active and FTS/TAR ADSEP cases to
*832vaccineadseps.fct(at)navy.mil*.

6. Additional Navy Reserve Guidance:

6.a. Navy service members who refuse the vaccine and separate from
the active component (AC) will not be permitted to affiliate with or
be assigned in any status within the reserve component (RC).

6.b. Separations for Navy Reserve service members refusing the
vaccine will be conducted at the Navy Reserve Center to which the
members are assigned. In order to be processed for retirement,
separation or resignation, all Navy Reserve service members refusing
the vaccine who are on active duty (ACDU), to include active duty
for operational support (ADOS) and definite recall, shall be
released from active duty (RAD) and returned to a reserve status no
later than 21 Jan 2022.

6.c. Navy Reserve service members on ACDU orders, to include active
duty for operational support (ADOS) and definite recall, who
submitted a vaccine exemption request which is subsequently denied
after 7 Jan 2022, and refuse the vaccine following the expiration of
the specified time to commence vaccination, shall be released from
active duty (RAD) and returned to a reserve status within 14 days of
being notified of the denial.

6.d. Commanders must notify the Orders Issuing Authority (OIA),
either PERS-92 or PERS-4X, as soon as possible if they have Navy
Reserve service members refusing the vaccine on ACDU.

6.e. In accordance with reference (p), in no case will a Navy
Reserve service member refusing the vaccine be granted authorized
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absence from drill or excused from other reserve duties based on
failure to comply with vaccination requirements.

6.f. Active duty members (including FTS/TAR) who do not have 20
qualifying years to retire, but have earned qualifying years in the
reserves and have a combination of active duty and reserve years to
qualify for a non-regular/reserve retirement under reference (r)
should contact PERS-97 Career Transition Office by emailing your
most current reserve Statement of Service to
*cto.officer(at)navy.mil* for officers and
*cto.enlisted(at)navy.mil* for enlisted members prior to 21 January
2022 to inform them of your intentions to be transferred to the
reserves solely for the purpose of retirement.

6.g. *Retirement* for RC members includes transfer to the retired
reserve and non-regular retirement as eligible.

6.h. Additional administrative guidance regarding Navy Reserve
service members refusing the vaccine will be promulgated via a
forthcoming ALNAVRESFOR message.

7. As a reminder, all unvaccinated Navy service members are subject
to screening testing against COVID-19 IAW reference (o). Commanders
shall continue to update the status of unvaccinated service members
IAW reference (k).

8. If in doubt as to how to adjudicate issues related to separation
of a Navy service member refusing the vaccine, Commanders should
seek guidance from their chain of command, their staff judge
advocate, and/or the CCDA before acting. Commands without an
assigned legal advisor may seek legal advice from a Region Legal
Service Office. In all cases, Commanders are accountable to ensure
the health and safety of their command while treating every Navy
service member with dignity and respect.

9. Points of contact.
My Navy Career Center: 833-330-6622, *askmncc(at)navy.mil*.
PERS-8 Active/FTS enlisted separations:
*832vaccineadseps.fct(at)navy.mil*
PERS-8 officer separations: *PERS-834(at)navy.mil*
PERS-8 Active/FTS/TAR enlisted retirements:
*Enlisted_Active_Duty_Retirements(at)navy.mil*
PERS-8 Active/FTS/TAR officer retirements:
*pers_835_retirements(at)navy.mil*
PERS-8 officer and enlisted promotion delays:
NPC_promotionwithholds.fct(at)navy.mil*
PERS-92 officer and enlisted definite recalls:
*PERS-92(at)navy.mil*.
PERS-9 Reserve enlisted separations:
*913vaccineadseps.fct(at)navy.mil*.
PERS-97 officer transitions: *cto.officer(at)navy.mil*
PERS-97 enlisted transitions: *cto.enlisted(at)navy.mil*
OPNAV POC: CAPT Jason Grizzle, *ALTN_N1_NAVY_SCR.FCT(AT)NAVY.MIL*.
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10. Released by VADM John B. Nowell, Jr, COVID Consolidated
Disposition Authority.
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